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Proposed Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                    )       Chapter 11
In re:                                              )
                                                    )       Case No. 18-12425 (MG)
Aralez Pharmaceuticals US Inc., et al,1             )
                                                    )       (Jointly Administered)
                                  Debtors.          )
                                                    )

           NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

           PLEASE TAKE NOTICE that, pursuant to Rules 2002, 9007 and 9010(b) of the

  Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Sections 102(1) and

  1109(b) of title 11 of the United States Code (the “Bankruptcy Code”), the law firm of Brown

  Rudnick LLP hereby enters its appearance in the above-referenced chapter 11 cases (the

  “Chapter 11 Cases”) as proposed counsel to the Official Committee of Unsecured Creditors (the

  “Official Committee”), and hereby requests that all notices given or required in the Chapter 11

  Cases, and all documents, and all other papers served in the Chapter 11 Cases, be given to and

  served upon the following:



  1
      The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal taxpayer identification
      number and/or its equivalent are as follows: Aralez Pharmaceuticals Holdings Limited (5824); Aralez
      Pharmaceuticals Management Inc. (7166); POZEN Inc. (7552); Aralez Pharmaceuticals Trading DAC (1627);
      Aralez Pharmaceuticals US Inc. (6948); Aralez Pharmaceuticals R&D Inc. (9731); Halton Laboratories LLC
      (9342). For the purposes of these chapter 11 cases, the Debtors’ mailing address is: 400 Alexander Park Drive,
      Princeton, NJ 08540.
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                                              Pg 2 of 3


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       PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing request includes not only the notices and papers referred to in

the provisions of the Bankruptcy Code and Bankruptcy Rules specified above, but also includes,

without limitation, orders and notices of any application, motion, petition, pleading, request,

complaint or demand, whether formal or informal, whether written or oral, and whether

transmitted or conveyed by mail, delivery, telephone, electronically or otherwise, which affects

or pertains to the Debtors, the property of the Debtors or their chapter 11 estates.

       PLEASE TAKE FURTHER NOTICE that neither this notice nor any later appearance,

pleading, claim or suit shall waive any rights of the Official Committee (1) to have final orders in

non-core matters entered only after de novo review by a United States District Court, (2) to trial

by jury in any proceeding so triable in these cases or any case, controversy, or proceeding related

to these cases, (3) to have a United States District Court withdraw the reference in any matter

subject to mandatory or discretionary withdrawal, or (4) to any other rights, claims, actions,

defenses, setoffs or recoupments to which the Indenture Trustee is, or may be, entitled under

agreements, in law or in equity, all of which rights, claims, actions, defenses, setoffs and

recoupments are expressly reserved.

                          [Remainder of page intentionally left blank.]




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Dated: August 27, 2018                      BROWN RUDNICK LLP
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                                            of Unsecured Creditors
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